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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  OXFORD DIVISION

COREY HOLLAND                                                                         PETITIONER

v.                                                                       No. 3:20-CV-00259-GHD-RP

MDOC                                                                             RESPONDENT(S)


                                               ORDER

        Corey Holland has submitted a document that the court construes as a petition for a writ of

habeas corpus under 28 U.S.C. § 2254. The petitioner has not, however, used the court’s standard

form for such petitions. The court uses these forms for the expeditious administration of habeas

corpus petitions. As such, the petitioner must complete and return the enclosed form within 21 days.

Failure to do so may lead to the dismissal of this case without prejudice.

        SO ORDERED, this, the 25th day of September, 2020.


                                                        /s/ Roy Percy
                                                        ROY PERCY
                                                        UNITED STATES MAGISTRATE JUDGE
